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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                               AT DAYTON DIVISION

IN RE:                                            IN PROCEEDINGS UNDER CHAPTER 7

NATHANIEL C BENN                                              CASE NO: 17-30016
CHERYL L COKLEY-BENN
                                                        JUDGE: GUY R. HUMPHREY
       DEBTOR


MOTION OF DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR
AMERIQUEST MORTGAGE SECURITIES INC., ASSET-BACKED PASS-THROUGH
    CERTIFICATES, SERIES 2005-R8 FOR RELIEF FROM STAY FOR REAL
        PROPERTY LOCATED AT 3762 Judy Lane, Dayton, OH 45405


       Deutsche Bank National Trust Company, as Trustee for Ameriquest Mortgage Securities

Inc., Asset-Backed Pass-Through Certificates, Series 2005-R8 (the "Creditor") in this proceeding

under Chapter 7 of the Bankruptcy Code, and pursuant to 11 U.S.C. §362(d) of the Bankruptcy

Code, Rules 4001, 9013 and 9014 of the Bankruptcy Rules and Local Bankruptcy Rule 4001-1,

respectfully moves this Court for relief from the automatic stay imposed by 11 U.S.C. §362(a) in

order to proceed with a state court proceeding to foreclose on the property located at 3762 Judy

Lane, Dayton, OH 45405. The grounds upon which this Motion is made are more fully set forth

in the attached Memorandum in Support.

                               MEMORANDUM IN SUPPORT

1.     The Court has jurisdiction over this matter under 28 U.S.C. §§157 and 1334. This is a

       core proceeding under 28 U.S.C. §157(b)(2). The venue of this case and this Motion is

       proper under 28 U.S.C. §§1408 and 1409.

2.     On June 24, 2005, Nathaniel C Benn and Cheryl L Cokley-Benn (collectively “Debtor”)

       obtained a loan from Ameriquest Mortgage Company, in the amount of $225,000.00.
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      Such loan was evidenced by a Promissory Note dated June 24, 2005 (the “Note”), a copy

      of which is attached as Exhibit A.

3.    To secure payment of the Note and performance of the other terms contained in it, the

      Debtor executed a Mortgage dated June 24, 2005 (the “Mortgage”). The Mortgage

      granted a lien on the real property (the “Property”) owned by the Debtor Cheryl L

      Cokley-Benn, located at 3762 Judy Lane, Dayton, OH 45405 and more fully described in

      the Mortgage.

4.    The lien created by the Mortgage was duly perfected by the recording of the Mortgage in

      the office of the Montgomery County Recorder on July 11, 2005. A copy of the

      Mortgage is attached as Exhibit B. The lien is the first lien on the property.

5.    The Note and Mortgage are currently held by Deutsche Bank National Trust Company, as

      Trustee for Ameriquest Mortgage Securities Inc., Asset-Backed Pass-Through

      Certificates, Series 2005-R8.

6.    The value of the Property is $117,900.00, per Montgomery County Auditor.

7.    As of March 6, 2017, there is currently due and owing on the Note, the outstanding

      principal balance of $224,183.75, plus interest accruing thereon at the rate of 2% per

      annum from May 1, 2016.

8.    Other parties known to have an interest in the Property are as follows:

             a. Montgomery County Treasurer, for tax purposes.

9.    The Creditor is entitled to relief from the automatic stay under 11 U.S.C. § 362(d)(1)

      and/or 362(d)(2) for these reason(s):

      a.     Debtor has failed to provide adequate protection for the lien held by the Creditor
             for the reasons set forth below.
      b.     Per the Note and Mortgage, payments are applied to the last month due. Based
             upon the foregoing, Debtor has failed to make periodic payments to Creditor since
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               June 1, 2016, which unpaid payments are in the aggregate amount of $13,472.64
               through March 6, 2017.
       c.      Since the Bankruptcy was filed, Debtor should have made 2 post-petition
               payments but has only made 0. Therefore, the loan is delinquent 10 payments.

10.    Creditor has completed the worksheet attached as Exhibit E.

11.    This Motion conforms to the standard form adopted in this District except as follows:

       Clarification of language in Paragraph 3.

       WHEREFORE, Creditor prays for an Order from the Court granting Creditor relief from

the automatic stay of 11 U.S.C. §362 of the Bankruptcy Code to permit Creditor to proceed

under law and for such other and further relief to which the Creditor may be entitled.

                                             Respectfully Submitted,

                                             /s/ Chris E. Manolis
                                             Shapiro, Van Ess, Phillips & Barragate, LLP
                                             Chris E. Manolis (0076197)
                                             4805 Montgomery Road, Suite 320
                                             Norwood, OH 45212
                                             Phone: (513) 396-8100
                                             Fax: (847) 627-8805
                                             Email: cmanolis@logs.com



"Attached are redacted copies of any documents that support the claim, such as
promissory notes, purchase order, invoices, itemized statements of running accounts,
contracts, judgments, mortgages, and security agreements in support of right to seek a lift
of the automatic stay and foreclose if necessary."
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                           CERTIFICATE OF SERVICE
                 AND NOTICE OF REQUEST FOR RELIEF FROM STAY

        The undersigned certifies that a copy of the foregoing Motion for Relief from Stay was
served this date, via email notification and/or regular U.S. mail, postage prepaid, on the parties
whose names and addresses are listed below as and for NOTICE that the attached request for
relief would be filed. All parties are hereby NOTIFIED that a written memorandum in
opposition along with a request for a hearing must be filed with the Court and served on the
undersigned within twenty-one (21) days from the date of service of this Motion. If no such
memorandum in opposition is filed within that time period, the relief sought in the Motion may
be granted. Pursuant to Local Rule 9021-1, the undersigned will present to the Court a proposed
Order granting the relief sought if, within twenty-five (25) days after this date, no such written
memorandum in opposition has been filed with the Court.


Names and addresses of parties served:

Served by Regular U.S. Mail                          Electronic Mail Notice List

Nathaniel C Benn                                     Richard P. Arthur
3762 Judy Lane                                       1634 South Smithville Road
Dayton, OH 45405                                     Dayton, OH 45410

Cheryl L Cokley-Benn                                 Paul Spaeth
3762 Judy Lane                                       7925 Paragon Road, Suite 101
Dayton, OH 45405                                     Dayton, OH 45459

                                                     Asst. US Trustee (Dayton)
                                                     Office of the US Trustee
                                                     170 North High Street, Suite 200
                                                     Columbus, OH 43215


DATED: March 28, 2017

                                             Respectfully Submitted,

                                             /s/ Chris E. Manolis
                                             Shapiro, Van Ess, Phillips & Barragate, LLP
                                             Chris E. Manolis (0076197)
                                             4805 Montgomery Road, Suite 320
                                             Norwood, OH 45212
                                             Phone: (513) 396-8100
                                             Fax: (847) 627-8805
                                             Email: cmanolis@logs.com
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                              UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF OHIO
                                      DAYTON DIVISION

IN RE:                                                       IN PROCEEDINGS UNDER CHAPTER 7

NATHANIEL C BENN                                                           CASE NO: 17-30016
CHERYL L COKLEY-BENN
                                                                     JUDGE: GUY R. HUMPHREY
         Debtor

______________________________________________________________________________

                RELIEF FROM STAY/ADEQUATE PROTECTION
                 EXHIBIT AND WORKSHEET – REAL ESTATE
                     (For use as required by LBR 4001-1(a)(1))
______________________________________________________________________________
Real property address which is the subject of this motion:
3762 Judy Lane
Dayton, OH 45405

DEBT/VALUE REPRESENTATIONS:

    Total indebtedness of the debtor(s) as of March 6, 2017 (not to be relied
    upon as a payoff quotation)                                                 $         232,500.98
    Movant's estimated market value of the real property                        $         117,900.00
    Source of the estimated valuation Montgomery County Auditor

STATEMENT OF ARREARAGE:

    (1) As of petition filing date:                                             $          12,550.46
    (2) Postpetition:                                                           $           2,725.52

    (3) Monthly payment amount:
                                            Eight (8) payments at:              $              1,343.39
                                            Two (2) payments at:                $              1,362.76

    (4) Date of Last Payment                April 29, 2016
    (5) Amount of Last Payment                                                  $              1,343.39

# of payments due postpetition                   2    (through payment due 03/06/17)

# of payments received postpetition              0

# of payments in default postpetition            2




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Total amount of postpetition payments currently in default:                      $                          2,725.52
    + Postpetition late charges                                                  $
    + Other charges                                                              $
    Motion for Relief Filing Fee    $
    Interest                        $
    Property Inspection             $
    ESCROW Advances                 $
    Corporate Advances              $
= Total Postpetition Arrearage                                                   $                          2,725.52

OTHER LOAN INFORMATION:

    Date of the Loan                June 24, 2005
    Current Interest Rate           2%

Money paid to and held by the mortgagee but not applied to the loan $0.00; if held in the form of checks, balance of
such checks $0.00, and identity of holder of the checks n/a.


REQUIRED ATTACHMENTS TO MOTION:

         (a) In a Chapter 13 case, a postpetition payment history.

        (b) In all cases, copies of documents which indicate movant's interest in the subject
            property. For purposes of example only, a complete and legible copy of the
            promissory note or other debt instrument together with a complete and legible copy
            of the real estate mortgage should be attached. The mortgage should bear date stamps
            reflecting the recording date together with recording references reflecting the
            recordation of the mortgage with the appropriate county official. If the subject
            property is registered land, movant shall attach a copy of the registered land
            certificate or other documentation reflecting that the mortgage was memorialized as a
            lien on the registered land certificate.



This Exhibit and Worksheet was prepared by:


                                             Respectfully Submitted,

                                             /s/ Chris E. Manolis
                                             Shapiro, Van Ess, Phillips & Barragate, LLP
                                             Chris E. Manolis (0076197)
                                             4805 Montgomery Road, Suite 320
                                             Norwood, OH 45212
                                             Phone: (513) 396-8100
                                             Fax: (847) 627-8805
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